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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )                   8:14CR54
                                                  )
         vs.                                      )                    ORDER
                                                  )
JOSHUA M. WILDENRADT,                             )
JOHNNY GRISALES,                                  )
ROBERT D. BRYAN,                                  )
RUSSELL HARRIS, and                               )
CHRISTIE CANTON,                                  )
                                                  )
                        Defendants.               )

         This matter is before the court on the motion for a continuance of trial by defendant Joshua
M. Wildenradt (Wildenradt) (Filing No. 79). Wildenradt seeks a continuance of the trial scheduled
for August 25, 2014. Wildenradt has submitted an affidavit in accordance with paragraph 9 of the
progression order whereby Wildenradt consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 80).
Wildenradt’s counsel represents that government's counsel has no objection to the motion. Upon
consideration, the motion will be granted and trial will be continued as to all defendants.
         IT IS ORDERED:
         1.     Wildenradt’s motion to continue trial (Filing No. 79) is granted.
         2.     Trial of this matter before Judge Joseph F. Bataillon and a jury is continued as to
October 6, 2014. The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between August 11, 2014, and October 6, 2014, shall
be deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendants' counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).


         DATED this 11th day of August, 2014.
                                                       BY THE COURT:

                                                       s/ Thomas D. Thalken
                                                       United States Magistrate Judge
